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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)         ‫ ܆‬Original    ‫ ܆‬Duplicate Original


                              UNITED STATES DISTRICT COURT
                                                                                                            LODGED
                                                         for the                                     CLERK, U.S. DISTRICT COURT




                                            Central District of California
                                                                                                     9/9/2021
                                                                                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                 jb
                                                                                                   BY: ____________BB______ DEPUTY


 United States of America

                 v.
                                                                   Case No. 2:21-mj-04205-duty
 KIMBERLY SILVA,

                 Defendant(s)


                           CRIMINAL COMPLAINT BY TELEPHONE
                          OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of September 9, 2021 in the county of Los Angeles in the Central District of California,

the defendant(s) violated:

           Code Section                                            Offense Description

           18 U.S.C. § 922(g)(1)                                   Felon in Possession of Ammunition


         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                                   /s/ Dominick Canty
                                                                                 Complainant’s signature

                                                                           Dominick Canty, Special Agent
                                                                                  Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                September 9, 2021
                                                                                     Judge’s signature

 City and state: Los Angeles, California                              Hon. Paul Abrams, U.S. Magistrate Judge
                                                                                  Printed name and title


AUSA: Sara Milstein (x8611)
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                               AFFIDAVIT
I, Dominick Canty, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

           This affidavit is made in support of a criminal

complaint and arrest warrant against KIMBERLY SILVA (“SILVA”)

for a violation of 18 U.S.C. § 922(g)(1): Felon in Possession of

Ammunition.

           This affidavit is also made in support of an

application for a warrant to search the following digital device

in the custody of the Los Angeles Sheriff’s Department (“LASD”),

in Compton, California, as described more fully in Attachment A:

           a.   An LG cell phone with serial number

356284104316211 (the “SUBJECT DEVICE”).

           The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of

Title 18, United States Code, Sections 922(g) (Felon in

Possession of a Firearm or Ammunition), 1959(a) (Violent Crime

in Aid of Racketeering), and 924(c) (Use of a Firearm in

Furtherance of a Crime of Violence) (the “Subject Offenses”), as

described more fully in Attachment B.       Attachments A and B are

incorporated herein by reference.

           The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses, including members of the LASD – Operation Safe

Streets.   This affidavit is intended to show merely that there
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is sufficient probable cause for the requested complaint, arrest

warrant, and search warrant, and does not purport to set forth

all of my knowledge of or investigation into this matter.

Unless specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                      II. BACKGROUND OF AFFIANT
          I am a Special Agent with the FBI and have been so

employed since September 15, 2019.         I am currently assigned to

the Violent Crimes Squad and the Long Beach Resident Agency.

During my previous training at the FBI Academy, I received

training in a variety of investigative and legal matters,

including the topics of Fourth Amendment searches, the drafting

of search warrant affidavits, and probable cause.         In my current

role as a Special Agent, I have experience in investigations

involving gang violence, drug trafficking, child pornography,

extortion, and homicide.     I have had formal training in case

management, evidence collection and source handling.          Prior to

being employed by the FBI as a Special Agent, I was employed by

the FBI as an Intelligence Analyst for approximately two years,

where I have had experience performing analysis for

investigations involving drug trafficking and transnational

organized crime.    I have also consulted with other more

experienced Special Agents and law enforcement officers on this

and other investigations.




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                    III. SUMMARY OF PROBABLE CAUSE
             In executing a state search warrant on SILVA and her

residence, law enforcement found 83 total rounds of ammunition

and the SUBJECT DEVICE inside SILVA’s bedroom.         SILVA, a Santana

Blocc Compton Crips (“SBCC”) gang member who is under

investigation for her involvement in an April 2021 shooting, is

a convicted felon who is prohibited from possessing ammunition.

In a post-Miranda interview, SILVA said that the ammunition

belonged to her and said she knew she was not allowed to have it

because she is a convicted felon.

                    IV. STATEMENT OF PROBABLE CAUSE

             Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

     A.      SILVA is a Suspect in a Shooting

             On September 7, 2021, the Honorable John J. Lonergan

Jr., Magistrate Judge of the Superior Court of the State of

California, issued a warrant to search SILVA’s residence and
person for evidence relating to a shooting.        The warrant is

attached hereto as Exhibit 1 and incorporated herein by

reference.

             As provided in greater detail in Exhibit 1, on April

19, 2021, a male minor was shot near a shopping plaza in

Compton, California, in the heart of territory claimed by the

SBCC gang.    Businesses in the shopping plaza had security

cameras that captured the incident.        The footage showed SILVA,

an SBCC member, and another person firing guns across the



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shopping plaza’s parking lot and in the direction of a male who

appeared to take cover behind a metal fence.        SILVA’s face and

body were visible in the footage.      The male was ultimately

struck by one of the bullets and was later taken to a hospital,

where he survived his wound.

     B.    Search Warrant at SILVA’s Residence
           On September 9, 2021, LASD executed the search warrant

in Exhibit 1.   They found SILVA present at her residence along

with members of her family.

           According to SILVA, SILVA’s minor sister, and SILVA’s

mother, SILVA shares a bedroom with her minor sister.          SILVA

keeps her belongings, including her identification, social

security card, and passport inside of the bedroom.

           LASD found the following inside SILVA’s bedroom, in

substance and in part:

           a.   Thirty-one 9mm rounds of ammunition inside of a

magazine, found inside of a black bag in the closet;

           b.   Fifty-two loose 9mm rounds of ammunition in the

black bag and in a red blanket close to the black bag, also in

the closet;

           c.   An empty .45 caliber magazine, found inside of a

black bag in the closet; and

           d.   The SUBJECT DEVICE on top of the bed.

           LASD deputies asked SILVA’s minor sister if any of the

ammunition or magazines belonged to her.        SILVA’s minor sister

said no.




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           LASD deputies asked SILVA’s minor sister if the

SUBJECT DEVICE belonged to her.      SILVA’s minor sister said that

the SUBJECT DEVICE belonged to SILVA.

     C.    SILVA’s Statements

           I was present when SILVA was read her Miranda rights.

During the interview, SILVA said the following, in substance and

in part:

           a.   SILVA shares a bedroom with her younger sister;

           b.   The ammunition and magazines belong to SILVA; and

           c.   SILVA knows she is a convicted felon and is not

allowed to possess firearms or ammunition.

           SILVA declined to speak about the shooting.

     D.    Criminal History

           I have reviewed criminal history and conviction

documentation for SILVA.     From my review, I know that SILVA was

convicted of the following felony crimes punishable by a term of

imprisonment exceeding one year:

           a.   On or about August 6, 2019, a violation of

California Penal Code section 29800(a)(1) (Firearm Access

Violation), in the Superior Court for the State of California,

County of Los Angeles, Case Number COMTA14971101; and

           b.   On or about February 27, 2019, a violation of

California Penal Code section 25850(a) (Carrying a Loaded

Firearm), in the Superior Court for the State of California,

County of Los Angeles, Case Number COMTA14798801.




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     E.    Interstate Nexus
           From my review of the LASD property report, I know

that some of the ammunition seized from SILVA’s bedroom was

manufactured by CCI.    Based on my training and experience, as

well as my review of CCI’s website, I believe that CCI is based

in Lewiston, Idaho and manufactures its ammunition there.          I

therefore believe that the ammunition seized from SILVA traveled

in interstate commerce because it was recovered in the Central

District of California after having been manufactured outside of

California.

          V. TRAINING AND EXPERIENCE ON FIREARMS OFFENSES

           From my training, personal experience, and the

collective experiences related to me by other law enforcement

officers who conduct who conduct firearms investigations, I am

aware of the following:

           a.   Persons who possess, purchase, sell, or use

firearms generally maintain records of their firearm

transactions as items of value and usually keep them in their

residence, or in places that are readily accessible, and under

their physical control, such in their digital devices.          It has

been my experience that prohibited individuals who own firearms

illegally will keep the contact information of the individual

who is supplying firearms to prohibited individuals or other

individuals involved in criminal activities for future purchases

or referrals.   Such information is also kept on digital devices.

           b.   Many people also keep mementos of their firearms,

including digital photographs or recordings of themselves



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possessing or using firearms on their digital devices.          These

photographs and recordings are often shared via social media,

text messages, and over text messaging applications.

          c.    Those who illegally possess firearms often sell

their firearms and purchase firearms.       Correspondence between

persons buying and selling firearms often occurs over phone

calls, e-mail, text message, and social media message to and

from smartphones, laptops, or other digital devices.          This

includes sending photos of the firearm between the seller and

the buyer, as well as negotiation of price.        In my experience,

individuals who engage in street sales of firearms frequently

use phone calls, e-mail, and text messages to communicate with

each other regarding firearms that the sell or offer for sale.

In addition, it is common for individuals engaging in the

unlawful sale of firearms to have photographs of firearms they

or other individuals working with them possess on their cellular

phones and other digital devices as they frequently send these

photos to each other to boast of their firearms possession

and/or to facilitate sales or transfers of firearms.

          d.    Those who fire, brandish, or otherwise use

firearms tend to keep mementos of those firearms and their use

of the firearms on their digital devices.        These mementos may

take the form of photographs or videos.       I also know that people

who use firearms tend to discuss their use of those firearms

with others using their digital devices.        These discussions may

involve bragging about or recounting the events leading up to

and during the firearm use.     This is particularly true where



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firearms have been used to further gang activity because gang

members tend to strive for credit (often called a “trophy”) for

putting in “work” for the gang.

          e.      Likewise, based on my training and experience as

well as my involvement in this investigation and others

involving SBCC, I know that gang members in general and SBCC

members, in particular, often keep evidence and indicia of gang

membership on their cell phones.      They use their cell phones to

talk about gang business, gun and drug transactions and

transfers, to organize meetings, and to talk about past and

future work done on behalf of the gang.

          VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES
          As used herein, the term “digital device” includes the

SUBJECT DEVICE.

          Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

          a.      Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.          Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.      Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are



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replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously




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develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.
           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

           The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

           a.    Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical



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feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           b.     In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

           c.     The person who is in possession of a device or

has the device among his or her belongings is likely a user of

the device.     Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress SILVA’s thumb- and/or fingers on the

device(s); and (2) hold the device(s) in front of SILVA’s face

with his or her eyes open to activate the facial-, iris-, and/or

retina-recognition feature.
           Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.



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                             VII. CONCLUSION
           For all of the reasons described above, there is

probable cause to believe that SILVA has committed a violation

of a felon in possession of ammunition, in violation of 18

U.S.C. § 922(g).     There is also probable cause that the items to

be seized described in Attachment B will be found in a search of

the SUBJECT DEVICE described in Attachment A.




Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
                   9th day of
telephone on this ____
 September 2021.
_________,



THE HON. PAUL ABRAMS
UNITED STATES MAGISTRATE JUDGE




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                               ATTACHMENT A

PROPERTY TO BE SEARCHED

      The following digital device (the “SUBJECT DEVICE”), seized

on September 9, 2021 and currently maintained in the custody of

the Los Angeles Sheriff’s Department, in Compton, California:

      1.   An LG cell phone with serial number 356284104316211.




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                               ATTACHMENT B
I.    ITEMS TO BE SEIZED

           The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of Title 18, United

States Code, Sections 922(g) (Felon in Possession of a Firearm

and Ammunition) 1959(a) (Violent Crime in Aid of Racketeering),

and 924(c) (Use of a Firearm in Furtherance of a Crime of

Violence) (the “Subject Offenses”), namely:

           a.    Records, documents, programs, applications and

materials, or evidence of the absence of same, sufficient to

show call log information, including all telephone numbers

dialed from any of the digital devices and all telephone numbers

accessed through any push-to-talk functions, as well as all

received or missed incoming calls;

           b.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show SMS text, email communications or other text or written

communications sent to or received from any of the digital

devices and which relate to the above-named violations;

           c.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show instant and social media messages (such as Facebook,

Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp),

SMS text, email communications, or other text or written

communications sent to or received from any digital device and

which relate to the above-named violations;




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           d.    Records, documents, programs, applications,

materials, or conversations relating to the sale or purchase of

guns or ammunition, including correspondence, receipts, records,

and documents noting prices or times when guns or ammunition

were bought, sold, or otherwise distributed;

           e.    Audio recordings, pictures, video recordings, or

still captured images related to the purchase, sale,

transportation, or distribution of guns or ammunition;

           f.    Evidence of gang membership, including

photographs, videos, or images displaying gang hand signs,

messages referring to the Santana Blocc Compton Crips,

membership in the Santana Blocc Compton Crips, and activity by

the Santana Blocc Compton Crips;

           g.    Global Positioning System (“GPS”) coordinates and

other information or records identifying travel routes,

destinations, origination points, and other locations; and

           h.    Any SUBJECT DEVICE which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offense/s, and forensic copies thereof.

           i.    With respect to any SUBJECT DEVICE containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                 i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,




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browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                 ii.     evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                 iii. evidence of the attachment of other devices;

                 iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                 v.      evidence of the times the device was used;

                 vi.     passwords, encryption keys, and other access

devices that may be necessary to access the device;

                 vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                 viii.        records of or information about

Internet Protocol addresses used by the device;

                 ix.     records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.
           As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,



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documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.

II.   SEARCH PROCEDURE FOR DIGITAL DEVICE
           In searching the SUBJECT DEVICE (or forensic copies

thereof), law enforcement personnel executing this search

warrant will employ the following procedure:

           a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) may

search any SUBJECT DEVICE capable of being used to facilitate

the above-listed violations or containing data falling within

the scope of the items to be seized.

           b.    The search team will, in its discretion, either

search each SUBJECT DEVICE where it is currently located or

transport it to an appropriate law enforcement laboratory or

similar facility to be searched at that location.

           c.    The search team shall complete the search of the

SUBJECT DEVICE as soon as is practicable but not to exceed 120

days from the date of issuance of the warrant.          The government

will not search the digital device beyond this 120-day period

without obtaining an extension of time order from the Court.

           d.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                 i.    The search team may subject all of the data

contained in each SUBJECT DEVICE capable of containing any of

the items to be seized to the search protocols to determine



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whether the SUBJECT DEVICE and any data thereon falls within the

scope of the items to be seized.       The search team may also

search for and attempt to recover deleted, “hidden,” or

encrypted data to determine, pursuant to the search protocols,

whether the data falls within the scope of the items to be

seized.

                 ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                 iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques.

           e.    The search team will not seize contraband or

evidence relating to other crimes outside the scope of the items

to be seized without first obtaining a further warrant to search

for and seize such contraband or evidence.

           f.    If the search determines that a SUBJECT DEVICE

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the SUBJECT DEVICE and delete or destroy all forensic copies

thereof.

           g.    If the search determines that a SUBJECT DEVICE

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.




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           h.    If the search determines that the SUBJECT DEVICE

is (1) itself an item to be seized and/or (2) contains data

falling within the list of other items to be seized, the

government may retain the digital device and any forensic copies

of the digital device, but may not access data falling outside

the scope of the other items to be seized (after the time for

searching the device has expired) absent further court order.

           i.    The government may also retain a SUBJECT DEVICE

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

           j.    After the completion of the search of the SUBJECT

DEVICE, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.
           The review of the electronic data obtained pursuant to

this warrant may be conducted by any government personnel

assisting in the investigation, who may include, in addition to

law enforcement officers and agents, attorneys for the

government, attorney support staff, and technical experts.

Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the

custody and control of attorneys for the government and their

support staff for their independent review.



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           During the execution of this search warrant, law

enforcement is permitted to (1) depress SILVA’s thumb- and/or

fingers onto the fingerprint sensor of the SUBJECT DEVICE (only

if the device has such a sensor), and direct which specific

finger(s) and/or thumb(s) shall be depressed; and (2) hold the

device in front of SILVA’s face with his or her eyes open to

activate the facial-, iris-, or retina-recognition feature, in

order to gain access to the contents of any such device.           In

depressing a person’s thumb or finger onto a device and in

holding a device in front of a person’s face, law enforcement

may not use excessive force, as defined in Graham v. Connor, 490

U.S. 386 (1989); specifically, law enforcement may use no more

than objectively reasonable force in light of the facts and

circumstances confronting them.

           The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




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